                                                           FILED: January 7, 2025

                    UNITED STATES COURT OF APPEALS
                        FOR THE FOURTH CIRCUIT

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                                  No. 25-1019
                             (5:24-cv-00724-M-RN)
                             ___________________

JEFFERSON GRIFFIN

             Plaintiff - Appellee

v.

NORTH CAROLINA ALLIANCE FOR RETIRED AMERICANS; VOTEVETS
ACTION FUND; TANYA WEBSTER-DURHAM; SARAH SMITH; JUANITA
ANDERSON

             Intervenors - Appellants


This case has been opened on appeal.

Originating Court         United States District Court for the Eastern District
                          of North Carolina at Raleigh
Originating Case          5:24-cv-00724-M-RN
Number
Date notice of appeal     01/07/2025
filed in originating
court:
Appellant(s)          North Carolina Alliance for Retired Americans,
                      VoteVets Action Fund, Tanya Webster-Durham,
                      Sarah Smith, Juanita Anderson
Appellate Case Number 25-1019
Case Manager          Rachel Phillips
                      804-916-2702
